Case 2:21-cv-00177-SRB Document 38-52 Filed 10/18/21 Page 1 of 3




                    Exhibit C-33
               Case 2:21-cv-00177-SRB Document 38-52 Filed 10/18/21 Page 2 of 3




Indiana Wesleyan University Par tners with
Pearson to Create a Digital Campus

OV E RV I E W
Indiana Wesleyan University (IWU), established in 1920, is an evangelical, Christian, comprehensive university of
The Wesleyan Church and is committed to global education through liberal arts and professional degree programs.
Over 12,000 adult learners attend classes at regional IWU Education Centers in Indiana, Kentucky and Ohio, as
well as through Indiana Wesleyan’s online degree programs. The school offers associate, bachelor’s and master’s
degree programs and its total enrollment, which now exceeds 15,000 students, makes it the largest private
university in Indiana.

CHALLENGE
Indiana Wesleyan wanted to expand the reach of its innovative adult education program by creating a robust digital
campus. The school wanted to offer its online students a unified, seamless digital environment that allowed for a
highly engaging and interactive teaching and learning experience across every learning modality.
                                            Case 2:21-cv-00177-SRB Document 38-52 Filed 10/18/21 Page 3 of 3


          SO LU TI O N
          With the initial phase to be launched in March 2014, IWU                  “We live in a time when a college
          is partnering with Pearson to offer a broad new suite of                  degree has never been more
          technology tools and resources for its faculty and students.              important to ensure career
          Under the agreement, Pearson will provide award-winning                   readiness and employability. We
          digital content; eTextbooks delivered via single sign-on                  partnered with Pearson, a proven
          authentication; and Pearson LearningStudio™, a                            and respected industry leader,
          cloud-based learning management system, which
                                                                                    to help our university have all
                                                                                    the resources needed to boost
          incorporates integrated data analytics that monitor and
                                                                                    student success.”
          analyze trends in student performance and also measure
          learning outcomes. The platform will provide services such                               — Dr. David Wright
          as: online course design and development, on-demand,                                                     President,
          online tutoring, and help desk and technical support.                                   Indiana Wesleyan University

          PA RTN E R S H I P TI M E L I N E
          Indiana Wesleyan’s 12,500 online and non-residential students will be the initial beneficiaries of the partnership.
          The digital campus will eventually impact the entire institution by enhancing teaching and learning for all faculty
          and students, and will eventually enable IWU to measure, improve and document academic quality across all
          academic programs.



                “Pearson is the best organization to help us bring all of these resources
                together in a cost-efficient way and they enable us to realize our vision of a
                digital campus for the 21st century student.”
                                                                                                     — Dr. David Wright
                                                                                          President, Indiana Wesleyan University




                           To lear n how Pear son can help improve accessibilit y and
                            af fordabilit y with innovative digit al models, plea se visit
                                                  pearsoned.com/transition-to-digital
                                                                    @PearsonNorthAm




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